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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORID A

                              CASE NO . 04-20778-Cr-JORDAN/KLEIN

 UNITED STATES OF AMERIC A

        Plaintiff,
 V.
 KENT FRANK,

        Defendant .


     UNOPPOSED AND AGREED MOTION TO RE-SET HEARINGS SET BEFORE
                           MAGISTRATE

        COMES NOW , the Defendant, KENT FRANK , by and through his undersigned

 counsel, JAMES S. BENJAMIN, Esquire, and BENJAMIN & AARONSON , P.A., and with the

 agreement of Assistant United States Atto rney Eric Morales , moves this Honorable Court to re-

 set the hearings presently set for March 21, 2006 at 10 :00 AM before the Honorable United

 States Magistrate Theodore Klein and for grounds therefore would state as follows:

         1 . United States Magistrate Judge Klein set hearings on the Motions referred to the

 Cou rt by U .S. District Cou rt Judge Jordan for March 21 , 2006 by Order dated February 28, 2006 .

        2 . Co-Counsel for the Gove rnment, t rial atto rney Wendy Waldron , United State s

 Department of Justice, left on annual leave before the hea ri ng date was set and is not due to

 return to her post in Washington , DC until the date of March 19, 2006 .

         3 . Fu rther, Assistant United States E ri c Morales, has informed undersigned counsel

 that he is set for trial this week , the week of March 13 , 2006 and is also set for trial the week o f

 March 20, 2006 on a trial that he believes is certain .




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         4 . Further, the parties jointly filed a Motion to Re-Set Dates in this case before the

 Honorable United States District Court Judge Jordan before receiving this Order setting this

 hearing date . In that joint Motion, the parties have indicated to Judge Jordan that a last attempt

 to try to dispose of the case by way of plea is pending and the parties need at least three weeks in

 order to try to plea the case .

         5 . Undersigned counsel has spoken to Assistant United States Eric Morales who has

 indicated he is unopposed and in total agreement to this Motion .

         6 . The parties would respectfully request that should Judge Klein be inclined to re-

 set the hearing that the Court conduct a brief status conference in early April in order to

 determine the status of the case before re-setting the hearing .

         WHEREFORE, Defendant, KENT FRANK, the parties respectfully request this

 Honorable Court to grant the relief sought above and re-set the hearings presently set and set a

 status conference for early April .

          I HEREBY CERTIFY that a true and correct copy of the foregoing was furnished by
 U .S . Mail/hand delivery to the Office of the United States Attorney, ERIC MORALES, at 99
 N .E . 41h Street, Suite 400, Miami, FL 33132, and to ASSISTANT ATTORNEY GENERAL,
 WENDY WALDRON, at Child Protection and Obscenity Unit at the De rtment of Justice, 950
 Pennsylvania Avenue, Northwest, Washington D .C ., 20530-000l on this) day of March, 2006 .




                                                      S. BENJAMIN, ESQUIR E
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